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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF NEVADA
     ____________________________
     TESLA, INC., a Delaware     )
     corporation,                )
                                 )
               Plaintiff,        )
                                 )
     v.                          )           Case No.
                                 )     3:18-CV-00296-LRH-CBC
     MARTIN TRIPP, an            )
     individual,                 )
                                 )
               Defendant.        )
     _________________________   )
     MARTIN TRIPP, an            )
     individual,                 )
                                 )
          Counterclaimant,       )
                                 )
     v.                          )
                                 )
     TESLA, INC., a Delaware     )
     corporation,                )
                                 )
          Counterdefendant,      )
     ____________________________)

                                 CONFIDENTIAL
                   Videotaped Deposition of Elon Musk
                         Los Angeles, California
                         Friday, February 21, 2020




                 Michael P. Hensley, RDR, CSR No. 14114




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1    reporter please swear in the witness.
2                                  ELON MUSK,
3    having been first duly sworn, was examined and testified
4    as follows:
5                                EXAMINATION
6    BY MR. FISCHBACH:
7    Q.        Sir, can I have your full name for the record.
8    A.        Elon Reeve Musk.
9    Q.        Mr. Musk, are you under the influence of any
10   medications or controlled substances or anything that
11   might impact your ability to give truthful and accurate
12   deposition testimony here today, sir?
13   A.        No.
14   Q.        Sir, did you understand the oath you just took?
15   A.        Yes.
16   Q.        What does it mean to you?
17   A.        How is this relevant to the testimony?
18   Q.        Sir, I'm not here to answer your questions.
19   You're here to answer my questions.
20   A.        Okay.
21   Q.        My question for you is, sir, do you understand
22   the oath that you just took?
23   A.        Yes, of course.
24   Q.        What do you think it means?
25   A.        To say the whole truth, nothing but the truth,



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1    you supported -- or that you submitted in opposition to
2    your deposition?
3    A.        I suppose it was.
4    Q.        All right.      Did you read this before you signed
5    it?
6    A.        Yeah.
7    Q.        Is everything in this declaration true?
8    A.        I certainly believed it to be true.             Do you want
9    me to read it in detail?
10   Q.        I do not, Mr. Musk.
11   A.        Yeah.
12   Q.        I want to ask you, however, why this deposition
13   would pose a substantial burden and hardship to you in
14   this case.
15   A.        Well, I have a lot of obligations to run two
16   companies and make sure that the right thing happens
17   there.    This case, in my view, is a frivolous case
18   brought by a counterparty who is just a terrible human
19   being.    And, frankly, if I may say so, I -- I'm troubled
20   by your association with him.
21             So instead of me being able to do my duty for
22   the companies, I'm here.         This is not -- this is not --
23   this is not -- does not serve anyone.             It's not good.
24   It's a waste of time.
25   Q.        I think you knocked your microphone down,



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1    Mr. Musk.
2    A.        Yeah.
3    Q.        Thank you.
4              THE VIDEOGRAPHER:         Mr. Musk, if it could be on
5    your jacket, please.
6              THE WITNESS:      Yeah.
7              THE VIDEOGRAPHER:         Thank you, sir.
8    BY MR. FISCHBACH:
9    Q.        And, sir, if I understand you correctly, time is
10   a very precious commodity for you, given the
11   responsibilities you have to these various companies; is
12   that true?
13   A.        Yes.    This is -- I have a lot of responsibility,
14   and it's critical to execute that responsibility.              If I
15                                                   a I
     am constantly deposed in cases that lack merit, as
16   view this one to be --
17             MR. FISCHBACH:       May I have that marked, please?
18             (Exhibit 3 was marked for identification.)
19   BY MR. FISCHBACH:
20   Q.        Sir, the court reporter has handed you what has
21   been marked as deposition Exhibit 3.             That is an email
22   sent from Martin Tripp to you on May 16th of 2018.
23             The title of this email is "Stator Scrap Pareto
24   (Month of April)"; correct?
25   A.        Yes.



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1    Q.        And it references something called "NCM"; is
2    that right?
3    A.        Yes.
4    Q.        NCM is shorthand for nonconforming material?
5    A.        Yes.
6    Q.        In other words, scrap; correct?
7    A.        Yes.
8    Q.        And the gist of this email is that Mr. Tripp is
9    expressing concern to you regarding scrap in the
10   Gigafactory; correct?
11   A.        Yes.
12   Q.        Does Tesla encourage the practice of its
13   employees reaching directly out to the CEO if they see
14   something that concerns them?
15   A.        I do.
16   Q.        In May of 2018 was the amount of scrap at the
17   Gigafactory a serious concern for you?
18   A.        Yes.
19   Q.        Did you do anything in response to Mr. Tripp's
20   email?
21   A.        I -- I don't recall exactly what I did, but I
22   wanted to -- like, I forwarded it on to have it be
23   looked into.
24             (Exhibit 4 was marked for identification.)
25             MR. FISCHBACH:       4?



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1              MR. SPIRO:      Copy for me?
2              MR. FISCHBACH:       That is your copy.
3    BY MR. FISCHBACH:
4    Q.        Sir, the court reporter has handed you what has
5    been marked as deposition Exhibit 4.             This is an email
6    originally from Mr. Tripp to you on June 10th and then a
7    response from you to Mr. Tripp.
8              And in this email, you state "Getting scrap from
9    when cells exit Panasonic to less than 1 percent needs
10   to be a hardcore goal."
11             Did you actually write that?
12   A.        Yeah.
13   Q.        And when you say something, do you mean it?
14   A.        Almost always.
15   Q.        Okay.    Well, should Tesla employees believe you
16   when you make a statement like that?
17   A.        Yes.
18   Q.        So Mr. Tripp should have believed you when you
19   stated that getting scrap down to 1 percent is a
20   hardcore goal for the company?
21   A.        Of course.
22   Q.        Did you do anything in response to this email to
23   meet that hardcore goal?
24   A.        We did many things, and we have achieved it.              No
25   thanks to Tripp.



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1    confidentiality agreement and false information.
2    Q.        So this wasn't the first negative press that
3    Ms. Lopez had published regarding Tesla before; correct,
4    sir?
5    A.        I mean, I don't know if she published something
6    before June 4th or not.
7    Q.        Would you agree with me that, at least at this
8    point in time, you regarded her as somebody not friendly
9    to Tesla?
10   A.        I don't --
11             MR. SPIRO:     Objection.     Form.
12             THE WITNESS:     I don't know.
13   BY MR. FISCHBACH:
14   Q.        You don't understand the question, or you don't
15   know whether or not she was friendly to Tesla based on
16   those articles?
17   A.        Right.    I certainly don't know if she was
18   friendly to Tesla.       She's -- I mean, this -- these
19   articles are clearly not positive or -- yeah.
20             I mean, I have, like, 10,000 things that I need
21   to worry about to have Tesla operate effectively.              This
22   is 1 out of 10,000.
23   Q.        What did you think about the person that
24   provided the information to Lopez for those articles at
25   the time you learned about them?



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1    A.        Well, it's -- clearly somebody is leaking
2    confidential information, breaking their confidentiality
3    agreement, and exaggerating the reality of what is going
4    on.
5    Q.        And how did you feel about that?
6    A.        Well, obviously, I would feel as anyone would
7    feel.
8    Q.        Which was?
9    A.        That Tesla was being wronged.
10   Q.        What did you want to happen to the leaker when
11   you found them?
12   A.        Well, they would have to pay the appropriate
13   legal penalty for violating their confidentiality
14   agreement and misleading -- you know, not just leaking
15   information, but in a way that is actively damaging to
16   the company and, in some cases, false.
17   Q.        Now, both of these articles reference scrap in
18   the Gigafactory; correct?
19             MR. SPIRO:     You can take a minute to read the
20   articles if you want to.
21             THE WITNESS:      Absolutely.
22             MR. FISCHBACH:       Well, we'll go off the record if
23   he's going to read the whole articles.
24             MR. SPIRO:     Well, you're asking him a question
25   about the articles.        You asked the question.



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1    the Gigafactory and Tesla's seeming indifference to
2    those scrap levels?
3    A.        When I first received email from Tripp, I
4    thought he was sane and genuine.             And later, information
5    revealed he appeared to not be sane or at least
6    partially be insane and not be genuine and to be acting
7    out of malice.
8    Q.        And sitting here today, you -- you dispute the
9    veracity of the information that Mr. Tripp provided to
10   Ms. Lopez; is that correct, sir?
11             MR. SPIRO:     Objection as to form.          Which
12   information?
13             THE WITNESS:      He clearly provided scrap
14   information that was far in excess of reality in some
15   cases.
16             MR. FISCHBACH:      Mark that, please.
17             THE WITNESS:      I believe at one point he --
18             THE REPORTER:      Just a moment.
19             THE WITNESS:      Sorry.
20             THE REPORTER:      Thank you.
21             (Exhibit 7 was marked for identification.)
22             MR. FISCHBACH:      Ready?
23   BY MR. FISCHBACH:
24   Q.        Sir, the court reporter has handed you what has
25   been marked as deposition Exhibit 7.            These are two



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 1    emails that you sent to all Tesla personnel; is that
 2    correct, sir?
 3    A.        Yes.
 4    Q.        And do you recognize these emails?
 5    A.        Yeah.
 6    Q.        And this email -- or both emails were sent
 7    shortly after Mr. Tripp was identified as the Business
 8    Insider leaker; correct, sir?
 9    A.        Well, not that long.         Oh, I don't know when he
10    was identified as the -- this says June 18th.                 I'm not
11    sure exactly what the date is that he was identified as
12    the leaker.
13    Q.        Well, I'll avow to you that he was interrogated
14    by Tesla personnel on June 15th --
15    A.        Okay.
16    Q.        -- and June 16th.
17    A.        Okay.
18    Q.        Approximately how many Tesla employees were
19    there at the time this email was sent?
20    A.        I don't know the exact number.           If -- 30,000
21    perhaps.
22    Q.        You wrote in this email "I was dismayed to
23    learn... about a Tesla employee who had conducted quite
24    extensive and damaging sabotage to our operations.                      This
25    included making direct code changes to the Tesla



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1    Manufacturing Operating System under false usernames and
2    exporting large amounts of highly sensitive Tesla data
3    to unknown third parties."
4              Did I read that correctly, sir?
5    A.        Yes.
6    Q.        And the employee you're referring to here is
7    Mr. Tripp; correct?
8    A.        Yes.    I do not mention him by name, but, yes,
9    that's -- that is who I was referring to.
10   Q.        What evidence did you have at the time that you
11   sent this email that Mr. Tripp had conducted, quote,
12   "extensive and damaging sabotage" to Tesla's operations?
13   A.        This is the -- the substance of the information
14   that was conveyed to me by Tesla's security team.
15   Q.        Okay.    So your attorney -- your prior attorney
16   suggested that I look up the definition of sabotage.
17   And in Merriam-Webster, it's defined as, quote,
18   "Destruction of an employer's property (such as tools or
19   materials) or the hindering of manufacturing by
20   discontented workers."
21             Did Mr. Tripp inflict any physical harm to the
22   Gigafactory?
23             MR. SPIRO:      Is that the whole definition?
24             MR. FISCHBACH:       Is that an objection?
25             MR. SPIRO:      Well, if -- this question's



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 1    misleading, yeah.       It's an objection to form.
 2              MR. FISCHBACH:      All right.     The objection is
 3    noted.
 4    BY MR. FISCHBACH:
 5    Q.        Please answer the question, Mr. Musk.
 6    A.        I -- I suspect he probably did, but we do not
 7    have evidence of that that's 100 percent in this regard.
 8    Q.        Did Mr. Tripp destroy any batteries or equipment
 9    at the Gigafactory?
10    A.        Not that -- not that we caught him doing.
11    Q.        Were production levels of the Gigafactory
12    hindered at all due to Mr. Tripp's conduct?
13    A.        Probably.
14    Q.        Do you have any evidence to support that,
15    Mr. Musk?
16    A.        We did not catch him doing it.
17    Q.        You go on to state "The full extent of his
18    actions are not yet clear."
19              So at the time you made this statement, you
20    didn't have a complete investigation of the facts, did
21    you, Mr. Musk?
22    A.        We had to -- there were a lot of -- a lot of
23    negative facts conveyed to me, or believed to be facts,
24    by security team.       And it appeared to be just the tip of
25    the iceberg.



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1    Q.        Sir, but my question was, at the time you made
2    this statement, you did not have a complete
3    investigation of the facts, did you?
4              MR. SPIRO:     Objection to form.
5              THE WITNESS:      We did not have a complete
6    investigation of the facts, but the facts that had come
7    to light were extremely bad.
8    BY MR. FISCHBACH:
9    Q.        All right.     Do you do this often, make
10   statements to all your employees before you have all the
11   facts?
12             MR. SPIRO:     Objection to form.
13             THE WITNESS:      I think this notion that one can
14   have all the facts is -- is, again, sort of an example
15   of legal trickery.
16   BY MR. FISCHBACH:
17   Q.        You go on to write "However, there may be
18   considerably more to this situation than meets the eye;
19   so the investigation will continue in depth this week.
20   We need to figure out if he was acting alone or with
21   others at Tesla and if he was working with any outside
22   organizations.
23             "As you know, there are a long list of
24   organizations that want Tesla to die.            These include
25   Wall Street short-sellers, who have already lost



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 1    billions of dollars and stand to lose a lot more.                     Then
 2    there are the oil and gas companies, the wealthiest
 3    industry in the world.         They don't love the idea of
 4    Tesla advancing the progress of solar power and electric
 5    cars.    Don't want to blow your mind, but rumor has it
 6    that those companies are sometimes not super nice.
 7              "Then there [all] the multitude of big
 8    gas/diesel car company competitors.             If they're willing
 9    to cheat so much about emissions, maybe they're willing
10    to cheat in other ways?
11              "Most of the time, when there is theft of goods,
12    leaking of confidential information, dereliction of
13    duty, or outright sabotage, the reason [is really]
14    something simple like wanting to get back at someone
15    within the company or at the company as a whole.
16    Occasionally, it is much more serious."
17              Are short-sellers and big oil companies --
18    sorry, short-sellers, big oil companies, and traditional
19    car companies enemies of Tesla in your view, Mr. Musk?
20              MR. SPIRO:      Objection to form.
21              THE WITNESS:      I wouldn't say that they're
22    initially enemies, but they have interests contrary to
23    that of Tesla.
24    BY MR. FISCHBACH:
25    Q.        Okay.    And according to you in that email, they



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1    want to see Tesla die; correct?
2    A.        Some of them do.
3    Q.        Why did you feel the need to reference
4    short-sellers and big oil and competitor car companies
5    and their desire to see Tesla die in this email about
6    Mr. Tripp?
7              MR. SPIRO:      Objection to form.
8              You can answer if you can.
9              THE WITNESS:      I mean, I'm simply listing the --
10   that there are a lot of people and organizations out
11   there who have interests contrary to Tesla that people
12   may not be aware of.
13   BY MR. FISCHBACH:
14   Q.        Okay.    What was the point of you linking those
15   outside interests, the big oil and the short-sellers and
16   the car companies, to Mr. Tripp?
17             MR. SPIRO:      Objection to form.       Assumes facts.
18             THE WITNESS:      This was not implying that he
19   somehow works for all of those people, but -- but
20   that -- it's possible that he could.
21   BY MR. FISCHBACH:
22   Q.        At the time you sent that email, did you have
23   any evidence that Mr. Tripp was working with
24   short-sellers?
25   A.        On this -- on June 18th?



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 1    Q.        Yes.
 2    A.        No.    I wouldn't say that we had direct evidence.
 3    Q.        Did you have any evidence that Mr. Tripp was
 4    working with oil and gas companies?
 5    A.        No.
 6    Q.        Did you have any evidence that Mr. Tripp was
 7    working with big gas/diesel car companies that are
 8    Tesla's competitors?
 9    A.        No.
10    Q.        So sitting here today, you have no evidence that
11    Mr. Tripp was working with short-sellers, oil and gas
12    companies, or big gas/diesel car companies during his
13    employment with Tesla; is that correct, sir?
14              MR. SPIRO:     Objection.     Compound.
15              THE WITNESS:     The -- there did appear to be a
16    link to Jim Chanos, a prominent short-seller of Tesla
17    who is closely associated with Linette Lopez, and the
18    information that Lopez was publishing was beneficial to
19    Chanos.
20    BY MR. FISCHBACH:
21    Q.        Anything else?
22    A.        No.
23    Q.        Did you know about the supposed link with
24    Mr. Chanos when you sent that email?
25    A.        I'm not certain.



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1    Q.        You followed up with an email on June 18th,
2    "...last night we had another strange incident that was
3    hard to explain.       Small fire on the body-in-white
4    production line.       No one was in the area and there were
5    no injuries or significant equipment damage, but it was
6    enough to stop the body production line for several
7    hours.
8              "Could just be a random event, but as Andy Grove
9    said, 'Only the paranoid survive.'           Please be on the
10   alert for anything that's not in the best interest of
11   our company.      If you aren't getting a respondent from
12   the emdesk email, please send me a note directly."
13             Sir, did you think that Mr. Tripp had anything
14   to do with the fire in the body-in-white line?
15   A.        No.
16   Q.        Then why did you follow up your prior email
17   regarding Mr. Tripp with an email about this fire?
18             MR. SPIRO:     Objection.     Form.
19             THE WITNESS:      It's just one of a series of
20   incidents that was concerning.          There were just a lot of
21   unexplained incidents that caused the Tesla production
22   line to get to -- to fall out that were in our
23   electronic control system and -- yeah.            It's just that
24   there were a lot of incidents that stopped the line and
25   there was no clear explanation for why the -- why these



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 1    things happened.
 2    BY MR. FISCHBACH:
 3    Q.        Okay.     When you sent out that email, did you
 4    have any evidence that Mr. Tripp had anything to do with
 5    that fire?
 6    A.        No.
 7    Q.        You have a quote in here, "Only the paranoid
 8    survive."       Did something that Mr. Tripp did make you
 9    feel paranoid, Mr. Musk?
10    A.        Well, no.     This is a quote from Andy Grove where
11    he's essentially saying that you should not be
12    complacent and you should take potential threats
13    seriously.      And that is the -- an appropriate duty of
14    the CEO of the company.
15    Q.        Do you consider yourself a paranoid person?
16    A.        No.
17    Q.        Have there been fires in Tesla facilities before
18    June 18th of 2018?
19              MR. SPIRO:      Objection.     That's outside the
20    scope.
21              THE WITNESS:      Yes.
22              MR. SPIRO:      You don't have to answer if I say --
23              THE WITNESS:      Sure.
24              MR. SPIRO:      -- it's outside the scope.
25              THE WITNESS:      Okay.    Sure.    All right.        Sure,



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 1              (Exhibit 8 was marked for identification.)
 2    BY MR. FISCHBACH:
 3    Q.        Mr. Musk, the court reporter has handed you what
 4    has been marked as deposition Exhibit 8.                This is an
 5    exchange between you and Mr. Tripp on June 20th of 2018;
 6    correct, sir?
 7    A.        Yes.
 8    Q.        And I'll avow to you, sir, that June 20th is
 9    also the same day that Tesla filed its lawsuit against
10    Mr. Tripp.
11              Are you aware of that?
12    A.        June 20th?
13    Q.        Yes, sir.
14    A.        Now that you mention it, I am.
15    Q.        And it first started -- the first message was
16    from Mr. Tripp to you at 8:57 A.M.; is that right, sir?
17    A.        Yes.
18    Q.        Subject of the email is "Termination/Lawsuit"?
19    A.        Mm-hmm.
20    Q.        And that's your Tesla email address?
21    A.        It doesn't state my email address, but it --
22    assume it is.
23    Q.        Erm@tesla.com?
24    A.        It doesn't show ERM.
25    Q.        But is that your Tesla email address, sir?



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1    A.         Yes.
2    Q.         And that's not a secret within the company, is
3    it, sir?
4    A.         No.
5    Q.         Is it your common practice to communicate with
6    employees that Tesla has recently fired?
7    A.         It's not common.
8    Q.         Why did you respond to this email from
9    Mr. Tripp?
10   A.         I mean, he sent me an email that was clearly a
11   very threatening email saying I have what's coming to
12   me.    And so I said -- replied to him that "Threatening
13   me only makes it worse for you."
14   Q.         Did he threaten your physical safety?
15   A.         I took that to imply that it could be a physical
16   threat, yes.
17   Q.         It said "Don't worry.          You have what's coming to
18   you for the lies you have told to the public and
19   investors."
20              You took that as a threat to your physical
21   safety, Mr. Musk?
22              MR. SPIRO:     Objection.      Form.   Asked and
23   answered.
24              THE WITNESS:      Yes.
25                                       ///



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 1    BY MR. FISCHBACH:
 2    Q.        Why was it so important that you get personally
 3    involved in this dispute with Mr. Tripp?
 4              MR. SPIRO:      Objection to form.
 5              THE WITNESS:      It is -- it is not usual for --
 6    it's not common for me to get involved in individual
 7    disputes, but it's also not common for me to have -- for
 8    some -- somebody to interact with me in this way; so --
 9    BY MR. FISCHBACH:
10    Q.        You go on to state "You should [be] ashamed of
11    yourself for framing other people.            You're a horrible
12    human being"; is that right, sir?
13    A.        Yes.    I do think he's a horrible human being,
14    yes.   I'm quite convinced of that actually.
15    Q.        Thank you.
16    A.        Yeah.
17    Q.        How did he frame -- who did he frame?
18    A.        When he was stealing the data from Tesla, he
19    logged in as -- with other people's usernames in order
20    to hide his tracks and make it look like they were the
21    ones taking the data, not him.
22    Q.        But who?     Give me a name, please.
23    A.        I don't recall the names offhand, but it was
24    he -- he logged in with multiple other usernames.                     And I
25    believe at first we -- we actually thought the person



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1    who had taken the data was someone else because --
2    because he had logged in with their name.               And so that's
3    what I would -- any reasonable person would call framing
4    somebody else.
5    Q.        And you were taking this incident with Mr. Tripp
6    personally, it looks like; is that right, Mr. Musk?
7    A.        I -- I did take it personally in that he was --
8    it seemed like this is someone who had gone out of his
9    way to harm the company.
10   Q.        And --
11   A.        And he was -- he had betrayed our trust.             He
12   betrayed his confidentiality agreement.             He had just
13   been an awful person who had done harm to the company.
14   Q.        I want to get your -- I want to understand your
15   definition of a "horrible human being," Mr. Musk.
16             Steven Paddock, the Las Vegas shooter, is that a
17   horrible human being in your opinion?
18             MR. SPIRO:     Objection.     Form.
19             THE WITNESS:      Of course.
20             MR. SPIRO:     And if you know anything about these
21   people that he asks you about.
22   BY MR. FISCHBACH:
23   Q.        Do you think Jeffrey Epstein was a horrible
24   human being?
25   A.        Yes.



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1    "horrible" and "terrible" cover a wide range of -- of
2    opinions.
3    BY MR. FISCHBACH:
4    Q.        So Mr. Tripp was like a bad meal for you?
5    A.        Do you -- do you wish to spend this -- this
6    deposition engaging in legal trickery or asking at real
7    questions?
8    Q.        Mr. Musk, can you please answer my question,
9    sir.
10             MR. SPIRO:     Was it like a bad meal?        That's the
11   question pending.
12             THE WITNESS:      No, it's not like a bad meal.
13   BY MR. FISCHBACH:
14   Q.        Do you think it was reckless for Lopez to
15   publish this information from Mr. Tripp without
16   verifying it?
17   A.        Yes.
18             MR. SPIRO:     Objection.     Relevance.
19             THE WITNESS:      Oh.
20             MR. SPIRO:     Form.
21             You can answer.
22             THE WITNESS:      Yes.   More than reckless.
23   BY MR. FISCHBACH:
24   Q.        You go on to state "However, betraying your word
25   of honor, breaking the deal you had when Tesla gave you



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 1    a job, and framing your colleagues are wrong and come
 2    with some legal penalties.         So it goes.       Be well."
 3              You also thought Mr. Tripp was a traitor;
 4    correct, sir?
 5    A.        I -- I guess.
 6    Q.        Well, you said he --
 7    A.        -- of course.
 8    Q.        He betrayed his word of honor; correct?
 9    A.        Yes.
10    Q.        So he's a traitor?
11    A.        To -- to Tesla, yes, of course.
12    Q.        He's a horrible human being and a traitor in
13    your mind; correct?
14    A.        He's a bad person for sure.
15    Q.        You state "So it goes."            I've seen you use that
16    phrase in other places.        What does that phrase mean to
17    you?
18              MR. SPIRO:     Objection to the windup colloquy.
19    BY MR. FISCHBACH:
20    Q.        You can answer the question, Mr. Musk.
21    A.        It's just a way of saying that that's life.
22    Q.        And you also wrote "Be well."            Did you really
23    wish Mr. Tripp good fortune when you said that?
24    A.        Probably not.
25    Q.        Did you wish him good health?



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1    A.        I don't wish anyone bad health.
2    Q.        Hmm.    Well, then why did you say "Be well"?
3    A.        Neither here nor there.
4    Q.        You don't know why you said "Be well"?
5              MR. SPIRO:     Objection.     Asked and answered.
6              THE WITNESS:      It's an off-the-cuff comment.
7    BY MR. FISCHBACH:
8    Q.        You mention "legal penalties."          What penalties
9    did you have in mind?
10   A.        Whatever is appropriate under the law for
11   breaking confidentiality agreement and leaking vast
12   amounts of confidential information and misleading
13   journalists about the state of the company.
14   Q.        Did you have a particular penalty in mind,
15   though?
16   A.        I do not know of a particular penalty.            It's
17   whatever is appropriate under the law.
18   Q.        Now, most people would regard a penalty as a
19   form of punishment.       Did you want Mr. Tripp punished for
20   his conduct?
21             MR. SPIRO:     Objection to form.
22             And don't answer anything that you've had --
23   that has to do with conversations you've had with
24   counsel.
25             MR. FISCHBACH:      I agree with that, sir.



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1    pay the appropriate legal penalty.
2    BY MR. FISCHBACH:
3    Q.        He was going to get what was coming to him;
4    right?
5              MR. SPIRO:      Objection to form.
6              THE WITNESS:      That's not how I put it.
7              MR. FISCHBACH:       9?
8              THE REPORTER:       Correct.
9              (Exhibit 9 was marked for identification.)
10   BY MR. FISCHBACH:
11   Q.        Mr. Musk, this exhibit, Exhibit 9, that the
12   court reporter handed you, this is an email from
13   yourself to Julia Wong.
14             She's a reporter with The Guardian; correct?
15   A.        Yeah.
16   Q.        Had you ever communicated with Julia Wong before
17   this email exchange on June 20th?
18   A.        I don't recall.       Possibly, but I don't recall.
19   Q.        And if I could direct your attention to the
20   second to last page, Mr. Musk, it appears that Ms. Wong
21   initiated this email communication with you because she
22   had questions about the lawsuit that Tesla had initiated
23   that day; is that correct, sir?
24   A.        Yes.
25   Q.        Now, Tesla has a communications team to respond



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 1    to press inquiries; is that correct, sir?
 2    A.        Yes.   We -- well, yeah, we have communications
 3    team.
 4    Q.        And you don't respond personally to every press
 5    inquiry received, do you, sir?
 6    A.        No.
 7    Q.        But you responded to this one; correct?
 8    A.        This one was directed to me, and at times I do
 9    respond directly.
10    Q.        And in this case the inquiry had to do with
11    Mr. Martin Tripp; correct?
12    A.        Yes.
13    Q.        The same Martin Tripp that earlier that day you
14    had called a horrible human being and a traitor;
15    correct?
16              MR. SPIRO:     Objection.     Misstates the evidence.
17    I don't remember the word "traitor" being in the email.
18    Was it?
19    BY MR. FISCHBACH:
20    Q.        You can answer the question, Mr. Musk.
21    A.        This is a person that I -- that I thought was a
22    horrible human being and had betrayed the trust of the
23    company.
24    Q.        Thank you, sir.
25              You wrote "Tripp sent me a threatening email



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1    this morning.      Below is the exchange.           I was just told
2    that we received a call at the Gigafactory that he was
3    going to come back and shoot people.              The police have
4    been alerted and we have posted additional security.
5    Our comms team can fill you in."
6              What was Mr. Tripp going to shoot people with,
7    Mr. Musk?
8    A.        What was Mr. Tripp -- what do you mean "What was
9    Mr. Tripp going to shoot people with?"
10   Q.        Well, you wrote in here "I was just told that we
11   received a call at the Gigafactory that he was going to
12   come back and shoot people."
13             I'm asking you what was he going to come back
14   and shoot people with?
15   A.        Guns.    What do you mean?
16   Q.        Well, what kind of gun?             A rifle?
17   A.        I don't know what kind of guns.
18   Q.        A shotgun?
19             MR. SPIRO:      Objection.     Asked and answered.
20             THE WITNESS:      What -- what is the point of
21   asking me what type of guns he has?               I -- I don't know
22   what type -- I don't know what guns he has.
23   BY MR. FISCHBACH:
24   Q.        Do you know whether or not he was going to come
25   back with an automatic or semiautomatic weapon?



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 1    A.        I was -- I was simply told by security that
 2    the -- we received a call saying that -- that Marty
 3    Tripp was going to -- was -- was on his way to the
 4    Gigafactory and was heavily armed, was extremely
 5    volatile and angry, and it sounded like he was going to
 6    try to shoot everyone.
 7    Q.        So when you sent this email to Julia Wong, you
 8    didn't know what kind of gun Mr. Tripp was going to come
 9    back and shoot people with, did you, Mr. Musk?
10    A.        No.   But I was told he was heavily armed.
11    Q.        And you didn't know what kind of --
12    A.        Presumably, that is not a small gun.
13    Q.        You didn't know what kind of ammunition
14    Mr. Tripp was going to use, did you, Mr. Musk?
15    A.        No.   It -- I was told he was heavily armed, and
16    that usually means something much bigger than a handgun.
17    Q.        All right.     You didn't know whether or not he
18    was going to use an automatic, a semiautomatic weapon,
19    did you, Mr. Musk?
20    A.        No.   I was simply told that he was heavily
21    armed, volatile, and on his way to the Gigafactory.
22    Q.        How was he going to get back to the Gigafactory?
23              MR. SPIRO:     Objection to form.
24              THE WITNESS:     I don't know.       By car presumably.
25                                      ///



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1    BY MR. FISCHBACH:
2    Q.        Well, did you know?
3    A.        No.    But, I mean, people -- he would just
4    get there -- go there by car or, like -- it's not like
5    it's in a secure location.
6    Q.        But you didn't know how Mr. Tripp was going to
7    go back to the Gigafactory -- did you, sir? -- when you
8    made that statement?
9    A.        Do you mean what form of transport he would use?
10   Q.        Yes.
11   A.        I mean, presumably he'd drive.          I mean, I don't
12   think he would use a helicopter or walk.
13   Q.        Who made the call?
14   A.        Who made what call?
15   Q.        The call that you reference in here, "We [just]
16   received a call at the Gigafactory."
17             Who made the call?
18   A.        I don't know who made the call.
19   Q.        Did the caller have an accent?
20   A.        I was not on the -- I was not on the phone when
21   this person called.
22   Q.        Did the caller have an accent?
23             MR. SPIRO:     Objection.
24             THE WITNESS:      I don't know if this caller had an
25   accent.



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 1              MR. SPIRO:     Asked and answered.        Form.      He has
 2    no idea.
 3    BY MR. FISCHBACH:
 4    Q.        The Gigafactory is outside of Reno, Nevada; is
 5    that correct, sir?
 6    A.        Yes.   It's, like, 15 minutes east of Reno.
 7    Q.        And the call center is actually in Las Vegas; is
 8    that right?
 9              MR. SPIRO:     If you know.
10              THE WITNESS:     We have a call center in Las
11    Vegas.
12    BY MR. FISCHBACH:
13    Q.        Do you know whether or not this call was
14    received at the actual Gigafactory in Reno or at your
15    call center in Las Vegas?
16    A.        I don't know.
17              As I said, I was simply told -- and this is
18    obviously a very serious matter -- that Marty Tripp is
19    heavily armed, extremely angry, and on his way to
20    Gigafactory.
21              And if, when you receive something like that,
22    it's a credible threat, you have to take such threats
23    seriously.     If you don't take them seriously, there
24    could be a lot of people that die.
25    Q.        And Tesla had informed the sheriff's department



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1    Mr. Musk.
2              MR. SPIRO:     If you can understand the question,
3    you can answer the question.
4              THE WITNESS:      I mean, it's not -- the exact
5    timing is not clear.
6    BY MR. FISCHBACH:
7    Q.        All right.     But you would agree with me that
8    Tesla notified the sheriff's department right away;
9    correct?
10   A.        Yes.
11   Q.        All right.     Are you aware that your statement to
12   Julia Wong is the first statement to any member of the
13   press regarding the alleged shooting threat?
14   A.        No.
15   Q.        All right.     Do you know why your comms team did
16   not make any prior statements to the press regarding the
17   shooting threat before you did?
18   A.        No.
19   Q.        And if it's such an important matter, why would
20   your comms team not inform the press?
21             MR. SPIRO:     Objection to form.        It's an improper
22   question.
23             You can answer if you can.           Do you know why they
24   didn't inform the press?         Do you know why some other
25   person didn't inform the press?              You can answer that



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 1    question.
 2              THE WITNESS:     I think they -- they -- they would
 3    have, but this was all happening very quickly.                 And so
 4    the -- you know, if it's happening quickly, then, well,
 5    I will respond directly.
 6    BY MR. FISCHBACH:
 7    Q.        I want to go back to the information you
 8    received about the call.        Who told you about this call
 9    that was received at the call center?
10    A.        I was -- I think some members of our security
11    team and human resources.
12    Q.        Who?
13    A.        I don't recall.      I was told by many people.
14    There was -- I don't know.         Probably, I don't know, half
15    a dozen people that were on a call.
16    Q.        Did you ask any follow-up questions?
17    A.        Yes.   I asked can we -- do we have a recording
18    of the call?     Let's try to figure out, you know, how
19    serious is this.      Is this -- is he actually on his way
20    to the -- to -- you know, what -- you know, how -- how
21    seriously should we take this?          Is this, like, a -- a
22    four-alarm fire, a one-alarm fire?
23              It's obviously a very serious threat that one
24    needs to take credibly, but there is proportionate
25    response just as a fire department would have for a



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1    class of fire.      So we need to try to find out what --
2    how severe, how immediate.         It's clearly a serious
3    threat, but how severe and what action should we take to
4    safeguard the people.
5    Q.        Was the call recorded?
6    A.        I believe it was not recorded.          That's what I
7    was told.
8    Q.        When you asked the question "Should we take this
9    threat seriously?" was there any other evidence or
10   information to corroborate what the alleged caller had
11   said?
12   A.        You always have to take a threat of a heavily
13   armed angry shooter seriously, obviously.
14   Q.        That wasn't what my question, Mr. Musk.            My
15   question was was there any other information or evidence
16   that you had to corroborate what was stated in this
17   anonymous phone call?
18             MR. SPIRO:     Him personally or Tesla's security?
19             MR. FISCHBACH:      Him personally.
20             THE WITNESS:      No.   That's -- the information I
21   had was -- was a direct threat to the company.
22   BY MR. FISCHBACH:
23   Q.        So the only information you had came from an
24   anonymous phone call when you made this statement to
25   Julia Wong at The Guardian; is that correct, sir?



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 1              MR. SPIRO:     The only -- objection to form.
 2              THE WITNESS:     We had received a -- what seemed,
 3    to us, to be a credible threat to the safety and
 4    well-being of the people at Tesla, yeah.
 5    BY MR. FISCHBACH:
 6    Q.        All right.     Sir, my question is other than this
 7    anonymous phone call for which there was no recording,
 8    when you made that statement to Julia Wong, did you have
 9    any other independent evidence or information to
10    corroborate what that caller had said?
11              MR. SPIRO:     Objection.     Did you mean information
12    at that time, or other information they previously had
13    relating to Mr. Tripp being fired and any other issues
14    he had?
15    BY MR. FISCHBACH:
16    Q.        Do you understand the question, Mr. Musk?
17    A.        Well, now that you mention it, I believe I did
18    have a conversation with Nick Gicinto or one of Tesla's
19    security people about Marty Tripp.           And he said
20    something about the -- Marty Tripp having several guns
21    and trying to sell a gun to another employee.                This, I
22    think, adds some credibility to the threat.
23    BY MR. FISCHBACH:
24    Q.        When did that conversation happen?
25    A.        I'm not sure of the exact timing.



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1              He did try to sell the gun to --
2              MR. SPIRO:     What?
3              THE WITNESS:      Is that a --
4    BY MR. FISCHBACH:
5    Q.        Do you know whether or not the call with
6    Mr. Gicinto was before or after you made that statement
7    to Ms. Wong?
8    A.        I think it was probably before, but I'm not sure
9    of the exact timing.        I mean, I talked to Nick Gicinto
10   quite frequently at the time.
11   Q.        Did Mr. Tripp actually ever show up at the
12   Gigafactory and shoot anybody?
13   A.        No.
14   Q.        Was Mr. Tripp ever apprehended on his way to the
15   Gigafactory to shoot anybody?
16   A.        No.
17             (Exhibit 12 was marked for identification.)
18   BY MR. FISCHBACH:
19   Q.        Sir, the court reporter has handed you what has
20   been marked as --
21             THE REPORTER:      12.
22   BY MR. FISCHBACH:
23   Q.        -- deposition Exhibit 12.          I want to direct your
24   attention to Interrogatory Number 12, which is going to
25   be on page 7 of this document.



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 1              And it states "Identify and explain all
 2    information regarding the alleged threat known by Elon
 3    Musk prior to his sending the email communication
 4    referenced in Paragraph 54 of the counterclaim
 5    including:     when Mr. Musk first became aware of the
 6    alleged threat, all persons with whom Mr. Musk discussed
 7    the alleged threat on June 20, 2018, who provided
 8    Mr. Musk with the information of which he was aware,
 9    [and] what actions Mr. [took]" -- "[muster]" --
10    "Mr. Musk took to verify the information."
11              Now, if you could, sir, take a moment to
12    silently read to yourself Tesla's response to that on
13    the following page.
14              THE WITNESS:     Sir, may I have a water or
15    something?
16              MR. SPIRO:     Sure.
17              MR. FISCHBACH:      Go ahead.
18              MR. SPIRO:     Can you read back the question.
19              (The Reporter read the record as requested.)
20              MR. SPIRO:     Then the question before that.
21              (The Reporter read the record as requested.)
22              MR. SPIRO:     Sparkling okay?
23              THE WITNESS:     Sure, yeah.
24              Yes, I see it.
25                                      ///



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1    BY MR. FISCHBACH:
2    Q.        All right, sir.       Did you have a chance to read
3    Tesla's response?
4    A.        The whole response?
5    Q.        Yeah.    It's about a page and a half.
6    A.        Yes, I read it.
7    Q.        All right.      Sir, there is no reference in that
8    response to Mr. Gicinto providing you any information
9    about Mr. Tripp having firearms, is there?
10             MR. SPIRO:      Objection to form.
11             THE WITNESS:      Not in this.
12   BY MR. FISCHBACH:
13   Q.        Do you have any evidence that Mr. Tripp did
14   anything to make preparations to go back to the
15   Gigafactory and shoot people?
16   A.        No.
17   Q.        All the information came from that one anonymous
18   phone call; is that correct, sir?
19             MR. SPIRO:      Objection to form, "all the
20   information."
21   BY MR. FISCHBACH:
22   Q.        Let me clarify.       All the information you had in
23   your possession when you made that email to Julia Wong
24   was based on that anonymous phone call on June 20th;
25   correct, sir?



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 1              MR. SPIRO:     Objection to form.
 2              If he's asking you about just that moment, fine.
 3    If he's asking you about everything you had learned
 4    prior to the moment of the anonymous call regarding
 5    Mr. Tripp or regarding Business Insider, that's a
 6    different question.
 7              If you understand which of the two he's asking,
 8    you can answer it.
 9              MR. FISCHBACH:      Let me rephrase the question.
10              MR. SPIRO:     Yeah.    All right.
11    BY MR. FISCHBACH:
12    Q.        All the information you had about an alleged
13    threat to shoot up the Gigafactory came from that
14    anonymous phone call; is that correct, sir?
15    A.        Specifically about the threat to shoot up the
16    Gigafactory or however you want to call it, that -- that
17    was that call, yes.       But you have to take these things
18    very seriously.      It's when people don't take these
19    things seriously that they go awry.            You can't be
20    cavalier about such things.
21    Q.        And Mr. Tripp never actually bought a firearm to
22    the Gigafactory on June 20th, did he?
23              MR. SPIRO:     If you know.
24              THE WITNESS:     I don't know.       He may have.
25                                      ///



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1    BY MR. FISCHBACH:
2    Q.        Do you know whether or not Mr. Tripp ever fired
3    a weapon at the Gigafactory on June 20th?
4    A.        That is unlikely.
5    Q.        Do you know whether or not Mr. Musk -- or,
6    excuse me, Mr. Tripp ever set foot in the Gigafactory on
7    June 20th?
8    A.        I don't.
9    Q.        Are you aware that on June 20th Mr. Tripp was in
10   Reno being followed by private investigators hired by
11   Tesla?
12             MR. SPIRO:     Objection to form.
13             THE WITNESS:      I --
14             MR. SPIRO:     If you learned anything -- if you
15   learned anything about any of this through counsel, you
16   can't answer the question.
17             MR. FISCHBACH:      I disagree.      It's just a yes or
18   no question.      I'm not asking him for the contents of the
19   communication.      I just want to know were you aware of
20   this fact, Mr. Musk.
21             MR. SPIRO:     You can answer if you were aware of
22   the fact that Mr. Tripp was identified somewhere other
23   than -- near the factory, in other words.
24             Do you understand?
25             THE WITNESS:      Sorry, on what -- on what date are



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1              If you can answer that question, you can answer
2    that question --
3              THE WITNESS:      I mean, they said that --
4              MR. SPIRO:     -- how people sometimes come to the
5    Gigafactory.
6              THE WITNESS:      Okay.    We have two highways:       one
7    on north side, one on south side.
8    BY MR. FISCHBACH:
9    Q.        All right.     And approximately how far is it from
10   the Reno area, sir?
11   A.        15 -- 15 to 20 minutes.
12   Q.        Why was it so important that you inform the
13   press about the alleged threat rather than your
14   communications team?
15             MR. SPIRO:     Objection to form.
16             You can answer that.
17             THE WITNESS:      Right.    I mean, it's not that it
18   was so important that it be me or them, but since the --
19   given the timeliness of the email where the Guardian
20   reporter was clearly writing the story as though
21   Mr. Tripp was the wrong part -- the wronged party when
22   he was, in fact, not the wronged party.
23             And to the best of my information, he was at --
24   at risk of coming to Tesla and killing people.              I
25   thought perhaps this is information that she should be



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 1    aware of in writing this article that this -- this --
 2    that, to the best of my knowledge, this person was armed
 3    and dangerous and had already committed crimes against
 4    the company.     This -- pretty serious.
 5    BY MR. FISCHBACH:
 6    Q.        I mean, your information or your communications
 7    team was certainly capable of providing this information
 8    to Ms. Wong; correct, sir?
 9    A.        Yes, of course.
10              MR. FISCHBACH:      What are we on?
11              THE REPORTER:      13.
12              (Exhibit 13 was marked for identification.)
13    BY MR. FISCHBACH:
14    Q.        Sir, the court reporter has handed you what has
15    been marked as deposition Exhibit 13.            I want to draw
16    your attention to the second page.           It's an email from
17    Shamara Bell to Jeff Jones on June 21st, the day after
18    the alleged threat.
19    A.        Mm-hmm.
20    Q.        Can you read the second page silently to
21    yourself, sir.
22              MR. SPIRO:     He's not a recipient of this email.
23              MR. FISCHBACH:      I know he's not, but this has to
24    do with the investigation into the alleged threat, and
25    it's within the scope of the deposition.



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 1    Robert Smith.
 2              She specifically says "I never said 'shoot the
 3    place up' though.       I ain't that ghetto.        Sheeeeshh."
 4              Did I read that correctly, sir?
 5    A.        Yes.
 6    Q.        Do you know why there's no recording of that
 7    anonymous phone call, sir?
 8    A.        I don't.
 9    Q.        And by sending this information to Julia Wong,
10    it was your desire -- excuse me.
11              By sending this information to Julia Wong about
12    this alleged threat that he was going to come back and
13    shoot up the Gigafactory, you wanted Ms. Wong to publish
14    that in the media; correct, sir?
15    A.        I thought this was important information if
16    she's going to be writing an article about Marty Tripp.
17    Q.        So you wanted her to publish it; correct?
18    A.        It was salient information, and I certainly, you
19    know, believed at the time that this -- that he
20    represented a very serious threat to the safety of the
21    company.
22    Q.        Do you expect that she would publish this
23    information you gave to her?
24    A.        I thought she -- she might publish it, yes.
25              MR. FISCHBACH:      15.



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 1              MR. SPIRO:     "Shoot the place up" not "shoot up
 2    the place."
 3              MR. FISCHBACH:      Mr. Spiro, thank you, sir.
 4    You're right.      It says "shoot the place up."           And since
 5    we're -- our attention has been drawn to that exact
 6    phrase, does that exact --
 7              MR. SPIRO:     You just misquoted it.         That's why
 8    I'm just --
 9              MR. FISCHBACH:      Thank you, sir, and I greatly
10    appreciate that.
11    BY MR. FISCHBACH:
12    Q.        Does that exact phrase "shoot the place up"
13    appear in any of those communications from Shamara Bell
14    that we were looking at?
15    A.        That was not how she described it.
16    Q.        In fact, she specifically denied using words to
17    the effect of "shoot up the place" or "shoot the place
18    up"; isn't that right, sir?
19    A.        In that text exchange, she does, yes.              I mean,
20    she doesn't object to the substance of it, just the --
21    just the phrase itself.
22    Q.        Have you ever talked to Shamara Bell?
23    A.        No.
24    Q.        Now, there's roughly 26 minutes between
25    Exhibit 17, the email from Sarah O'Brien to Julia Wong,



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 1    please.
 2              (Exhibit 19 was marked for identification.)
 3    BY MR. FISCHBACH:
 4    Q.        Mr. Musk, the court reporter has handed you what
 5    has been marked as deposition Exhibit 19.                This is a
 6    tweet from you dated July 5th of 2018.             "Indeed, very
 7    simple question.       To be specific:        @linette" -- or,
 8    excuse me, "@lopezlinette, did you compensate or promise
 9    to compensate Martin Tripp for inside information about
10    Tesla?    Did he, under that inducement, provide you with
11    exaggerated negative info, which you printed but turned
12    out to be untrue?"
13    A.        That is a correct reading.
14    Q.        Now, this was after Tesla filed its lawsuit
15    against Mr. Tripp; correct?
16    A.        There's no date on this but --
17    Q.        Actually it's dated July 5th of 2018.                And the
18    lawsuit was filed June 20th of 2018.
19    A.        Okay; so, yes, it's after.
20    Q.        Okay.    Why did you feel the need to comment on
21    Mr. Tripp when there's active litigation by Tesla
22    against him?
23              MR. SPIRO:      Objection to form.
24              THE WITNESS:      I'm -- I'm not sure.         I don't
25    know.



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1    BY MR. FISCHBACH:
2    Q.        What was the message you wanted to send with
3    this tweet about Mr. Tripp?
4    A.        Oh, actually I think the -- Nick -- Nick
5    Gicinto, one of the members of Tesla security, had told
6    me that there was some guy who was a friend of Tripp's
7    who said that Linette Lopez had offered him $50,000 for,
8    you know, basically insider information on Tesla and
9    implied that Tripp had received similar payment.
10             (Exhibit 20 was marked for identification.)
11   BY MR. FISCHBACH:
12   Q.        Sir, the court reporter has handed you what has
13   been marked as deposition Exhibit 20.
14             Sorry, I gave you the wrong one, Alex.             That's
15   Gicinto.     That's 20 right there.
16             MR. SPIRO:     All right.     Thanks.
17             MR. FISCHBACH:      And you've got Mr. Gicinto;
18   correct, Mr. Musk?
19             MR. SPIRO:     Can I just check?
20             MR. FISCHBACH:      The deposition --
21             THE WITNESS:      Yes, 20.
22             MR. FISCHBACH:      Thank you.
23   BY MR. FISCHBACH:
24   Q.        And, sir, I deposed Mr. Gicinto.              And you'll see
25   on page 66 of the deposition, I highlighted a specific



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1    compensated or offered compensation from Linette Lopez?
2    A.        This was from his friend, or claimed friend,
3    that Nick Gicinto told me about.
4    Q.        Who was that?
5    A.        I don't recall the name.
6    Q.        And you didn't undertake any -- well, I
7    shouldn't say that.
8              Did you undertake any personal investigation to
9    determine whether or not Mr. Tripp had been compensated
10   or offered compensation from Linette Lopez?
11   A.        No.
12             (Exhibit 21 was marked for identification.)
13             MR. FISCHBACH:      21?
14             THE REPORTER:      Yes.
15   BY MR. FISCHBACH:
16   Q.        Mr. Musk, the court reporter has handed you what
17   has been marked as deposition Exhibit 21.
18   A.        Mm-hmm.
19   Q.        It's there by your right hand, sir.
20   A.        Yes.
21   Q.        And this is you stating "Are you 100 percent
22   certain that @businessinsider stands by @lopezlinette
23   and supports everything she's done?            Why won't Lopez go
24   on record saying that she never offered Tripp anything
25   for inside info or asked him to break his



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1              THE WITNESS:      I have nothing to add.
2    BY MR. FISCHBACH:
3    Q.        You were just pondering something?            Is that what
4    you were doing, Mr. Musk?
5              MR. SPIRO:     Objection.     Form.    Objection.     Asked
6    and answered.
7              THE WITNESS:      The judge said don't waste time.
8    BY MR. FISCHBACH:
9    Q.        And the judge said answer my questions.             So I'm
10   asking you, Mr. Musk, were you just posing a question?
11   Or did you intend to convey a message with this tweet?
12             MR. SPIRO:     Objection.     Asked and answered.
13             But you can answer the same answer that you've
14   already given if you'd like.
15             THE WITNESS:      I answered the question.
16             (Exhibit 22 was marked for identification.)
17             MR. FISCHBACH:      22?
18   BY MR. FISCHBACH:
19   Q.        Sir, the court reporter handed you what has been
20   marked as deposition Exhibit 22.
21   A.        James Uelmen, yes.
22   Q.        Sir, this is an email from Mr. Uelmen to you
23   June 20th, 2018.       It says "Sir, I worked as a Quality
24   Tech in Stator as well as cooling tubes and a few other
25   departments.      I was terminated last week (unfairly I



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 1    believe).     I was told someone called the 800 [number] on
 2    me and that even though I had no history of offensive
 3    behavior, that was enough to terminate me."
 4              It goes on to state "All I want is my job back.
 5    But while I was there, I did work closely with Martin
 6    Tripp and he has reached out to me."
 7    A.        Right.
 8    Q.        What did you do in response to this email,
 9    Mr. Musk?
10    A.        I believe I asked Nick Gicinto to talk to him.
11    Q.        All right.     Do you know if Mr. Gicinto ever
12    talked to him?
13    A.        Yes.
14    Q.        All right.     What -- what information did you
15    receive from Mr. Gicinto regarding Mr. -- is it
16    "Uelmen"?
17    A.        I'm not sure how to pronounce his last name.
18    Q.        All right.     What information did you receive
19    from Mr. Gicinto?
20              MR. SPIRO:     Is there a time period?
21              THE WITNESS:     Yeah.
22    BY MR. FISCHBACH:
23    Q.        Do you recall receiving any information from
24    Mr. Gicinto regarding Mr. Uelmen?
25    A.        Yes.   That -- Uelmen is -- is -- I think he



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1    claimed to Nick Gicinto that there was, like, this
2    $50,000 payment for insider information from Linette
3    Lopez and, I believe, implied that Tripp had received
4    something to that effect.
5              MR. FISCHBACH:      23.
6              (Exhibit 23 was marked for identification.)
7    BY MR. FISCHBACH:
8    Q.        Sir, the court reporter has handed you what has
9    been marked as deposition Exhibit 23.             That's an
10   email --
11             MR. SPIRO:     Do I get a copy of this?
12             MR. FISCHBACH:      Where is the other one?
13             MR. SPIRO:     I can just look at his if that's --
14             THE WITNESS:      Yeah, that's fine.
15             MR. SPIRO:     It's short.         I don't care.
16             MR. FISCHBACH:      Thank you.
17             MR. MITCHELL:      Here it is.
18             MR. FISCHBACH:      Oh, there it is.          I'm sorry.
19   Here you go, Mr. Spiro.
20             MR. SPIRO:     Yeah, thanks.
21   BY MR. FISCHBACH:
22   Q.        It's originally an email from Mr. Uelmen to you.
23   "Sir, I worked with Marty Tripp.             I was a Quality Tech
24   and I am being contacted by reporters because he gave
25   them my name.      I need some advice.         I was a loyal and



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 1    hardworking employee.        I believe in what you" --
 2    "[you're] trying to do.        I have a family and all I want
 3    is to be a good father and husband.            Please contact me."
 4              And you responded with "What is the situation
 5    with Marty?     How can I help?"
 6              Why did you respond personally to this email?
 7    A.        It's normal for me to respond to people at
 8    Tesla.    It's -- this was not unusual.          So I am actually
 9    generally quite reachable.
10    Q.        Right.    But, sir, at this point in time you've
11    got investigators, you've got lawyers, all of them
12    looking at Martin Tripp.
13              Why did you feel the need to personally respond
14    to this email?
15              MR. SPIRO:     Objection to the form of the
16    question and the windup, if that's even -- if any of
17    that's even true.
18              But what -- what -- you can answer the question
19    of --
20              THE WITNESS:     I mean, it's --
21              MR. SPIRO:     -- why did you respond to this
22    email.
23              THE WITNESS:     I -- I mean, this -- this
24    guy is -- said he had important information regarding
25    Tripp.    So I replied "What is the situation with Marty?



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1    How can I help?"
2    BY MR. FISCHBACH:
3    Q.         What were you going to do to help Mr. Uelmen?
4    A.         At no point did we offer him any compensation or
5    any quid pro quo.
6    Q.         Well, that wasn't my question, sir.           My question
7    was what were you going to do to help Mr. Uelmen?
8               MR. SPIRO:     If you know.
9               THE WITNESS:      I mean, this is just a simple
10   question, "How can I help?"
11   Q.         Well, but what were you going to do to help him?
12   A.         I -- you know, I need to know what is going on.
13   I don't know what I could do to help him.
14   Q.         What kind of help were you willing to offer
15   Mr. Uelmen?
16              MR. SPIRO:     If you can answer that question.
17              THE WITNESS:      What do you mean?
18   BY MR. FISCHBACH:
19   Q.         Sir, I -- it's your -- it's your email.            What
20   kind of help were you willing to offer Mr. Uelmen when
21   you wrote this email?
22              MR. SPIRO:     Again, I'm objecting to form.          It's
23   incomprehensible.
24              If you can answer that question, you can answer
25   it.



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 1              THE WITNESS:     Yeah, the -- I mean, the
 2    implication is that -- that there was some quid pro quo
 3    offered here where if he provided information, then he
 4    would be compensated in some way.            And that did not
 5    occur at any point.
 6    BY MR. FISCHBACH:
 7    Q.        Did you ever talk with Mr. Uelmen?
 8    A.        I don't think I ever spoke to him.
 9              MR. FISCHBACH:      24?
10              THE REPORTER:      Yes.
11              (Exhibit 24 was marked for identification.)
12    BY MR. FISCHBACH:
13    Q.        Sir, the court reporter has handed you what has
14    been marked as deposition Exhibit 24.            This is an
15    email -- at least it appears to be an email that you'd
16    forwarded to somebody with the name Deth stayerr with
17    the title "They're not [that] smart."            It includes some
18    communications between yourself and Bonnie Norman.
19              Who's Bonnie Norman?
20    A.        Bonnie Norman has a -- she used to run or may
21    still run Tesla Motors Club.          They're kind of a website
22    by Tesla users.
23    Q.        Is she generally a pro-Tesla person, anti-Tesla
24    person?
25    A.        I mean, she's mostly pro-Tesla.           Not -- you



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1    know, she's -- yeah, that's a -- it is a
2    customer-focused web site.         So she's not entirely
3    pro-Tesla, but she's mostly pro-Tesla.
4    Q.        Well, is she a Tesla employee?
5    A.        No.
6    Q.        Is she compensated in any way by Tesla?
7    A.        No, not that I'm aware of.
8    Q.        Why were you communicating with her about
9    Mr. Tripp if she's the facilitator of this
10   consumer-oriented website?
11   A.        I guess she sent me an email saying that there's
12   some connection between a short-seller and Marty Tripp.
13   Q.        And so why did you -- so she sent you an email.
14   Why did you feel the need to respond to that email about
15   a connection between a short-seller and Mr. Tripp?
16   A.        I mean, I've had many email correspondences with
17   Bonnie; so yeah.       I mean, she's saying here that there
18   appears to be some connection between Chanos, Fossi, and
19   Tripp.    And then my reply is "I wonder if Tripp was sent
20   to work with Tesla directly or indirectly by Chanos.
21   That would be pretty crazy."
22   Q.        Who's Chanos?
23   A.        He's a short-seller of Tesla who goes on the
24   media all the time saying Tesla is going to be worth
25   zero.    Turns out that's not true.



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 1    Q.        What's the stock price today?
 2    A.        I don't know.       Let's just say it didn't work out
 3    well.
 4    Q.        When you're right, you're right, Mr. Musk.
 5    A.        Yeah.
 6    Q.        Why was --
 7    A.        Place your bets.
 8    Q.        Why was she -- why was she even investigating
 9    whether or not there was a link between Mr. Tripp and
10    Mr. Chanos?
11    A.        I don't know.
12    Q.        Did you ask her to investigate that?
13    A.        No.
14    Q.        So then she just provided you unsolicited
15    information that there might be a link between Mr. Tripp
16    and Mr. Chanos?
17    A.        I believe so.
18    Q.        Why did you forward this conversation on to Deth
19    stayerr?
20    A.        Do you mean                         ?
21    Q.        Yeah.
22    A.        Oh, I just thought this was just crazy that -- I
23    just thought it was like, wow, this is pretty wild
24    stuff; so yeah.       I mean --
25    Q.        Why did you feel the need to -- why did Deth



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1    stayerr need to know this information about Mr. Tripp
2    being allegedly connected with Mr. Chanos?
3    A.        Well, I had had some conversations with Deth
4    stayerr about this, you see.
5    Q.        Who is Deth stayerr?
6    A.        The Deth stayerr legal name is Claire Boucher.
7    Q.        And who is that?
8    A.        That is my girlfriend.
9    Q.        By the way, congratulations, Mr. Musk.
10   A.        Oh, thank you, I think.
11             (Exhibit 25 was marked for identification.)
12             MR. FISCHBACH:      That's 25; right?
13             THE REPORTER:      Yes.
14   BY MR. FISCHBACH:
15   Q.        Before we go on to Exhibit 25, sir -- I mean,
16   other than this speculation from Ms. Norman, did you
17   ever have any evidence that Mr. Tripp was in fact
18   working with Mr. Chanos?
19   A.        There was -- I think -- I think Uelmen conveyed
20   to Gicinto that there was some connection, yeah.
21   Q.        Did your investigation of Mr. Tripp uncover any
22   connection between him and Mr. Chanos -- strike that.
23             Did Tesla's investigation of Mr. Tripp uncover
24   any connection between him and Mr. Chanos?
25   A.        There were -- there were a lot of coincidences,



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 1    but there was not an -- there was no -- there was no
 2    hard evidence, but a lot of strange coincidences.
 3              Linette Lopez just constantly posts about Chanos
 4    and how they're best friends and then -- and then writes
 5    articles that are in his -- in his interests.
 6    Q.        Sir, the court reporter has handed you what has
 7    been marked as deposition Exhibit 25.             This is an email
 8    from yourself, again, forwarded in -- forwarding an
 9    email from yourself to C* titled "Fwd:             gigaman nv."
                                                         gigaman_nv."
10              I see Todd -- is it "Maron"?           Is that how it's
11    pronounced?
12    A.        Yes.
13    Q.        He was Tesla's general counsel at the time?
14    A.        Yeah.
15    Q.        He's copied on these emails; correct?
16    A.        Yes.
17    Q.        Why is Todd Maron copied on your emails to
18    Bonnie Norman?
19    A.        Because it would obviously be a serious concern
20    if Tripp had been sent to work at Tesla by a
21    short-seller to provide them with insider information
22    and if he had exaggerated negative info to journalists
23    from a position of credibility on the inside.
24    Q.        Did Tesla's investigation of Mr. Tripp ever
25    uncover any evidence that Mr. Tripp had been sent to



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1    work for Tesla by a short-seller or to provide -- inside
2    information?
3    A.        It sure seemed that way, but we couldn't -- we
4    couldn't ever find any hard evidence.            It sure seemed
5    odd that somebody would be this energized to provide
6    negative information to the press.           Unless they're paid
7    for it, why are they doing it?          Maybe you know.
8    Q.        It appears that Bonnie Norman is receiving
9    information from others that aren't really identified in
10   this email.
11             Do you know who was providing Bonnie Norman
12   information about Mr. Tripp?
13   A.        No.
14   Q.        Do you know how she vets these people that are
15   providing this information?
16   A.        No.
17   Q.        How would you know if -- whether or not their
18   agenda aligned with Tesla's agenda if you don't know how
19   they're vetted?
20             MR. SPIRO:     Objection.     Form.
21             If you can understand that question.            You can
22   answer it, if you can understand it.
23             THE WITNESS:      I don't understand the question.
24   BY MR. FISCHBACH:
25   Q.        All right.     If you don't know how --



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 1    A.        It's not an understandable question, I think, is
 2    the problem.
 3    Q.        That's a fair -- fair response, Mr. Musk.                   I'll
 4    try to rephrase it.
 5              If you don't know how Bonnie Norman is vetting
 6    these people that are giving her information, how do you
 7    know whether or not their agenda aligns with Tesla's
 8    agenda?
 9    A.        I don't.
10    Q.        Why use Bonnie Norman to investigate Mr. Tripp
11    when you have attorneys and private investigators and
12    inhouse investigators?
13              MR. SPIRO:      Objection.     Assumes facts.
14              But you can answer the actual question.
15              THE WITNESS:      I mean, it's just sort of typical
16    legal complex question where you can't answer the
17    question without giving some credence to the initial
18    part of the question or the latter part of the question.
19    This is, like, Law 101 BS.
20    BY MR. FISCHBACH:
21    Q.        Well, let me -- let me break it down for you,
22    Mr. Musk.
23    A.        Yeah.
24    Q.                an email sent July 22nd of 2018;
                This is an
25    correct, sir?



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1    A.        Yes.
2    Q.        And the suit was filed on June 20th of 2018;
3    correct?
4    A.        Sure.
5    Q.        And even before the lawsuit was filed and after
6    the lawsuit was filed, Mr. Gicinto and Mr. Nocon and
7    their team were investigating Mr. Tripp; correct, sir?
8    A.        Yeah.    I -- yes, I think so.
9    Q.        So, again, sir, my question is if you've got
10   attorneys --
11   A.        Yeah.
12   Q.        -- if you've got investigators, why do you need
13   Bonnie Norman to be investigating Mr. Tripp?
14   A.        I'm not asking Bonnie Norman to investigate
15   Tripp.    She's doing it.       It's up to her.          Free country.
16   Q.        You don't think you're encouraging her, by
17   responding to these emails, to continue with her
18   investigation?
19             MR. SPIRO:      Objection to form.
20             If the question is, you know, were you
21   encouraging her, that would be a proper question.                 You
22   can answer that question.
23             THE WITNESS:      I mean, I would certainly be --
24   welcome any information that was relevant to the
25   situation.



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 1    BY MR. FISCHBACH:
 2    Q.        Why did you forward this email on to C*?
 3    A.        AKA Deth stayerr.
 4    Q.        Oh, is that also Deth stayerr?
 5    A.        Yes.
 6    Q.        Okay.    Thank you.
 7              But the question still stands, sir.             Why did you
 8    feel the need to send this email to your girlfriend?
 9    A.        I was discussing the case with her and -- and --
10    yeah.    Just sort of -- I was just outraged by the
11    situation.
12    Q.        So your girlfriend is somebody that you have had
13    discussions with regarding Martin Tripp?
14    A.        Yes.
15    Q.        What kind of discussions?
16    A.        Well, I just said that there was -- outrageous
17    that this guy was, you know, breaking his
18    confidentiality agreements and sending false information
19    to the media and he appeared to be working with
20    short-sellers.
21    Q.                 gigaman nv account ever linked to
                Was this gigaman_nv
22    Mr. Tripp?
23    A.        I don't know.
24              MR. FISCHBACH:       26?
25              THE REPORTER:       Yes.



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2    Q.        And, sir, I'm not referring to the fact that
3    maybe you or people working for you are -- are still
4    monitoring Mr. Tripp.        I'm referring to this email which
5    is a statement by you about a meeting having occurred
6    between Tesla legal and the Nevada -- Nevada Attorney
7    General's Office.
8              And my question for you is did you want to see
9    Mr. Tripp punished in the criminal justice system for
10   what he had done at Tesla?
11   A.        Yes.    I thought he had committed a crime and
12   deserved to pay the appropriate penalty.
13   Q.        Did a prosecution move forward?
14   A.        No.
15   Q.        You don't know?
16   A.        I -- they -- they did not move forward.
17   Q.        Why didn't they move forward if the facts were
18   unequivocal?
19   A.        I -- I still think this is a major issue with
20   the attorney -- the Attorney General's Office of Nevada
21   should have moved forward.




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22    BY MR. FISCHBACH:
23    Q.        Are you aware that your counsel, your former
24    counsel of record, John Hueston, gave a PowerPoint
25    presentation to members of both the Nevada Attorney



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1    General's office and FBI agents advocating for a
2    criminal prosecution of Mr. Tripp?
3    A.        I don't know that -- about a PowerPoint
4    presentation, but I -- I know he talked to them.
5    Q.        Were you present at that meeting?
6    A.        No.
7    Q.        Let's go to the first page of that exhibit, sir,
8    Exhibit 26.
9    A.        Yes.
10   Q.        You wrote at the bottom "Don't they have
11   anything" -- or, excuse me, "Don't they have something
12   else to write about?        It is so tiresome to see myself in
13   the news," exclamation point.
14             Do you see that?
15             MR. SPIRO:      Objection.     This is outside the
16   scope.
17             MR. FISCHBACH:       No.     It's --
18             MR. SPIRO:      You don't have to answer that.
19             MR. FISCHBACH:       It's a communication from
20   Mr. Musk.       It's an email from Mr. Musk.
21             MR. SPIRO:      Yeah.      But it's outside the scope of
22   the -- of the rules of your deposition.
23             MR. FISCHBACH:       Well, I'm glad you mentioned
24   that because --
25             Mark that.      Mark that.



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1    A.        Yes.
2    Q.        All right.     Second bullet point is "Any written
3    or email communications disclosed by Tesla to or from
4    Elon Musk."
5              Did I read that right?
6    A.        Yes.
7    Q.        All right.     And I will avow to you, sir, that
8    this was in fact Exhibit K to our motion to compel your
9    deposition that's referenced in the court's order here
10   at Exhibit 28.      And it says "The Court will allow Elon
11   Musk to be deposed on items 1, 2, 3, and 5 as outlined
12   in Exhibit K [to] the motion to compel."
13             So subject to any written or email
14   communications disclosed by Tesla to or from email -- to
15   or from Elon Musk, Exhibit 26 is in that category, is it
16   not, Mr. Spiro?
17             MR. SPIRO:     My objection's noted.          You can ask
18   the question.
19   BY MR. FISCHBACH:
20   Q.        So, sir, you wrote in here "Don't they have
21   something else to write about?          It is so tiresome to see
22   myself in the news," exclamation point.
23             Did I read that correctly, sir?
24   A.        Yes.
25   Q.        And above that, you wrote "Will tweet as I wish



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 1    and suffer the consequences.          So it goes."
 2              Did I read that correctly, sir?
 3    A.        Yes.
 4    Q.        Do you see any conflict between those two
 5    statements, it's tiresome to see yourself in the news
 6    but you'll tweet as you wish and suffer the
 7    consequences?
 8              MR. SPIRO:     Objection to form.       It's not a
 9    permissible legal question.
10              But you can answer if you can understand it.
11              THE WITNESS:     I can't understand it.
12    BY MR. FISCHBACH:
13    Q.        I said do you see any conflict between those two
14    statements.
15              MR. SPIRO:     Same objection.
16              THE WITNESS:     Same response.
17    BY MR. FISCHBACH:
18    Q.        You don't understand the question?
19    A.        No.
20    Q.        Did I read the two statements correctly?
21    A.        Did you -- can you read?
22    Q.        I said did I read the two statements correctly,
23    Mr. Musk.
24    A.        I think you spoke the words from the email.
25    Q.        Do you know the two statements I'm referring to?



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1    A.        Yes.
2    Q.        All right.     So do you see any conflict between
3    those two statements?
4              MR. SPIRO:     Objection to form.
5              THE WITNESS:      So --
6              MR. SPIRO:     You can -- if you can understand the
7    question, you can ask.        If you can't, you don't have
8    to --
9              THE WITNESS:      Yeah.   Unfortunately I cannot
10   understand it.
11   BY MR. FISCHBACH:
12   Q.        What did you mean when you said "Will tweet as I
13   wish and suffer the consequences"?
14   A.        Well, I think I meant that I will tweet as I
15   wish -- you know, First Amendment -- and suffer the
16   consequences.
17   Q.        Nothing more than that?
18   A.        I don't think there's a deep and hidden meaning
19   between -- behind the simple statement.
20   Q.        Is that -- is that a general attitude towards
21   your statements on Twitter, or was it more specific?
22             MR. SPIRO:     Well, objection to that question as
23   being outside the scope of the deposition.
24             MR. FISCHBACH:      I'm asking him what the
25   statement meant.



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 1              MR. SPIRO:     And he's already answered you.                It
 2    meant what the words said.
 3              Do you have anything further to add?
 4              THE WITNESS:     No.
 5              Well, I did delete my Instagram because it's
 6    weak sauce.
 7              MR. SPIRO:     Thank you for adding that for the
 8    record.
 9    BY MR. FISCHBACH:
10    Q.        Is it still deleted, Mr. Musk?
11    A.        It's hard deleted, unrecoverable.
12    Q.        Well, this was -- this email was dated
13    August 21st of 2018.       Before you deleted that Instagram
14    account, did you use it to message anybody about
15    Mr. Tripp?
16    A.        No.
17    Q.        Other than erm@tesla.com, what other email
18    accounts have you used to communicate with others
19    regarding Martin trip?
20    A.        I mean, I think some of the emails had
21    erm@spacex.com.      I don't think anything else.
22    Q.        So other than erm@tesla.com and erm@spacex.com,
23    what other emails have you used to communicate with
24    others regarding Martin Tripp?
25    A.        I don't think I've used any other emails.



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 1    Q.        If one of the other senior offers at Tesla had
 2    come to you with that and said, "Let's not waste time
 3    our time and money on Martin Tripp by suing him," would
 4    you have listened?
 5    A.        I would have taken that into account.
 6    Q.        Would you have listened to the advice -- strike
 7    that.
 8              Would you have followed the advice?
 9              MR. SPIRO:     Objection to form as to all these
10    questions.
11              You can answer if you can.
12              THE WITNESS:     I certainly listen to people's
13    opinion, and then I may agree or disagree with that
14    opinion.
15    BY MR. FISCHBACH:
16    Q.        Sitting here today, knowing what you know, do
17    you think any of the statements that are the subject of
18    Mr. Tripp's counterclaims are in fact false?
19              MR. SPIRO:     Objection to form.
20              But you can answer.
21              THE WITNESS:     Pardon?     Could you say that again.
22              MR. FISCHBACH:      Read the question back to the
23    witness, please.
24              (The Reporter read the record as requested.)
25              MR. SPIRO:     Same objection.



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1              Try to answer it.
2              THE WITNESS:      I -- I don't -- wait.       Do I
3    believe that -- any of Tripp's counterclaims are what?
4    What are you talking about?
5    BY MR. FISCHBACH:
6    Q.        Well, sir, a counterclaim --
7    A.        Do you want say what these things are?
8    Q.        Certainly, Mr. Musk.        The counterclaim are based
9    on statements made by you about Mr. Tripp, statements
10   made in that June 17th email that you sent to everyone
11   at Tesla, statements that you made to Julia Wong on
12   June 20th to Julia Wong, and then statements you made on
13   Twitter insinuating that Mr. Tripp had been compensated
14   or promised compensation from Linette Lopez.
15             Sitting here today, knowing what you know, do
16   you think any of those statements are false?
17             MR. SPIRO:     Objection to form.
18             Answer the question if you can answer the
19   question.
20             THE WITNESS:      Can you just be specific about
21   what statements you're referring to.
22   BY MR. FISCHBACH:
23   Q.        I just told you, Mr. Musk.         Do you need me to
24   tell you again?
25             MR. SPIRO:     So the tweets to Linette Lopez.



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 1              THE WITNESS:      Okay.
 2              MR. SPIRO:      The questions.
 3              THE WITNESS:      Do I think the tweets were false?
 4    The -- I -- where I asked the questions?
 5    BY MR. FISCHBACH:
 6    Q.        Sir, I'm asking you, sitting here today --
 7    A.        Yeah.
 8    Q.        -- knowing what you know, do you think any of
 9    those three statements that I just referenced are in
10    fact false?
11    A.        Please state the statements --
12    Q.        All right.
13    A.        -- one at a time, and I'll say yes or no.
14    Q.        Statement number one --
15    A.        Yes.
16    Q.        -- June 17th email stating that Mr. Tripp had
17    caused extensive and damaging sabotage to Tesla's
18    operations.
19              Sitting here today, knowing what you know, do
20    you think that statement's false?
21    A.        No.     I think he did do it.
22    Q.        All right.      Sitting here today, the statement on
23    June 20th to Julia Wong stating that you had just -- or
24    the -- Tesla had just received a call at the Gigafactory
25    that Martin Tripp was going to come back and shoot the



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1    place up, do you think that statement was false?
2    A.        No.     I think that's true.
3    Q.        All right.
4    A.        What?     Of course.
5    Q.        Sitting here today, the tweet you made on
6    July 5th insinuating that Mr. Tripp had been compensated
7    or promised compensation from Linette Lopez -- do you
8    think, sitting here today, knowing what you know, that
9    statement's false?
10   A.        That's -- that's -- again, you're engaging in
11   legal trickery.       I asked a question.        That's not the
12   same as making a statement.
13   Q.        Do you wish to retract any of the statements
14   regarding Mr. Tripp that are the subject of his
15   counterclaims?
16   A.        No.
17   Q.        Do you wish to apologize to Mr. Tripp for
18   anything?
19   A.        I certainly do not.
20   Q.        Have you read Mr. Tripp's deposition in this
21   case?
22   A.        No.
23   Q.        Did you watch the video of Mr. Tripp's
24   deposition?
25   A.        No.



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 1    Q.        Are you aware that during his deposition Tesla's
 2    counsel asked if he had been ever diagnosed with any
 3    kind of psychological condition?
 4    A.        No.
 5    Q.        Okay.    Based on Tesla's investigation of
 6    Mr. Tripp, do you think he has any kind of psychological
 7    condition?
 8              MR. SPIRO:      Objection.     If you --
 9              THE WITNESS:      You're asking my opinion?             I think
10    he's a -- mad and bad.
11    BY MR. FISCHBACH:
12    Q.        Is that a psychological condition?
13    A.        Yes.
14    Q.        All right.      Can I find -- can I find that in the
15    DSM-5?
16    A.        Well, you may know it better than I do.
17    Q.        Are you aware that your attorney also asked
18    Mr. Tripp during his deposition whether or not he had
19    ever been diagnosed as a, quote, "narcissistic
20    sociopath"?
21    A.        No, I didn't know that.             But it sounds like --
22    sounds true.
23    Q.        Do you think Martin Tripp's a narcissistic
24    sociopath?
25    A.        I think -- I think the word "narcissist" and



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1    "sociopath" are abused.         Do I think that it partly
2    applies to him?      Sure.
3    Q.        Do you have some kind of unique ability to
4    identify narcicisstic sociopaths?
5    A.        You mean by looking in the mirror?
6    Q.        That wasn't my question, sir.
7              Do you have some kind of unique -- do you have
8    some kind of unique ability to identify narcicisstic
9    sociopaths?
10   A.        I mean, I think I have above average insight to
11   people's personalities.
12   Q.        And, sir, since you've brought it up, do you
13   think you're a narcissistic sociopath?
14   A.        No.
15   Q.        All right.     Then why did you say "by looking in
16   the mirror"?
17   A.        I was making a joke.
18   Q.        All right.
19   A.        You obviously didn't get it.
20   Q.        Are we here to joke, Mr. Musk, or are we here to
21   talk about the truth?
22   A.        We're here to talk about the truth.
23   Q.        Are you aware that during Mr. Tripp's deposition
24   Tesla's counsel asked him if he had had an extramarital
25   affair?



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1    BY MR. FISCHBACH:
2    Q.        Sir, the court reporter has handed you what has
3    been marked as deposition Exhibit 31.            This is
4    Mr. Tripp's answer and counterclaim.
5              Did you ever review the counterclaim by
6    Mr. Tripp?
7    A.        No.
8    Q.        Have you ever read it?
9    A.        I have not.
10   Q.        Did you ever take the time to look as to whether
11   or not some of the allegations in his counterclaim are
12   in fact true?
13   A.        I -- no.
14   Q.        Why not?
15   A.        Because I -- I -- he -- he is just a huge liar
16   and a criminal in my opinion.
17   Q.        All right.     Was it not important to you to
18   determine whether or not there was any veracity to the
19   allegations in the counterclaim?
20             MR. SPIRO:     You can respond to that other than
21   revealing conversations you've had with counsel
22   obviously; so --
23             THE WITNESS:      Yeah.   We have to -- I mean, I've
24   certainly discussed this case with counsel.             But yeah, I
25   mean, it -- this is -- this is obviously just -- or, in



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1    Q.        Anything else?      Do you have any other insults
2    you want to say to me during this deposition, Mr. Musk?
3    A.        Do you have any insults you want to say to me?
4    Q.        No.   I don't answer your questions, Mr. Musk.
5    You answer mine.
6              My question was do you have any other insults
7    you'd like to state to me during this deposition?
8              MR. SPIRO:     It's -- it sound like -- it sounded
9    like no; so let's move on to another question about the
10   Tripp case.     It's, you know, limited categories for this
11   deposition.
12             MR. FISCHBACH:      Mr. Spiro, do you have any
13   questions?
14             MR. SPIRO:     I don't.
15             MR. FISCHBACH:      Mr. Musk, thank you for being
16   here today, sir.       So it goes.     Be well.
17             THE VIDEOGRAPHER:       This concludes today's
18   deposition of Elon Musk.         A total of two media was used.
19   We're going off record.        Time is 3:32 P.M.        Thank you.
20             (Deposition concluded at 3:32 P.M.)
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